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AO 458 (Rev.06/09) Appearance of Counsel                                                                      p/leo
                                    United States District Court
                                                                                               Mnjl/N30 PC: 51,

                            Plaintiff

   U-                        f\n£l D                               CaseNo. jf-j(CC '                                  ^
                            defendant
                           defendant


                                             APPEARANCE OF COUNSEL


To:      The clerk of court and all parties of record

         1am admitted or otherwise authorized to practice in thiscourt, and I appear in thiscaseas counsel for:




                                                                                       Attorney's signature


                                                                                       R. Ay
                                                                                   Printed name and bar number




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